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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

    THE STATE OF ARIZONA,
    By and through its Attorney General, Mark
    Brnovich, et al.,

                                      PLAINTIFFS,

    v.                                              CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW

    CENTERS FOR DISEASE CONTROL &
    PREVENTION; et al.,

                                    DEFENDANTS.


         MEMORANDUM IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER AND TO
                           COMPEL PRODUCTION OF INFORMATION
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                                                     MOTION
           This is a suit challenging Defendants’ revocation of Title 42 (“Termination Order”), which

   Defendant CDC publicly stated was being delayed until May 23 “to enable DHS to … prepare for full

   resumption of regular migration under Title 8 authorities.” Termination Order (Dkt 1-1) at 5. Plaintiff

   States have sought a preliminary injunction to prevent that Termination Order from going into effect,

   and have agreed with Federal Defendants on a briefing schedule that would permit adjudication of

   that motion before May 23.

           It appears, however, that the Defendant Department of Homeland Security (“DHS”) and its

   Defendant subagencies are partially implementing the Termination Order already. Yesterday, a major

   media outlet reported that “Border Patrol is not using the Title 42 public health order to remove many

   migrants from the Northern Triangle countries of Guatemala, Honduras and El Salvador, more than

   a month before the Biden administration lifts the order altogether,” according to “multiple Border

   Patrol sources.”1 DHS seems to admit it partially ended Title 42, on the basis that return flights to

   “certain non-contiguous countries” take too long to schedule.2 But DHS previously returned aliens to

   Mexico when flights were limited, and such action is the only one that aligns with public health harms

   detailed in the Title 42 Order, which is still in place. Thus, while Title 42 may be “technically still in

   place,” the reality on the ground is that DHS “has largely stopped using Title 42 to remove migrants

   from Northern Triangle countries, and is instead processing them via Title 8 and expedited removal.”3

           In response to that report, counsel for the State of Louisiana confirmed with the President of

   the Border Patrol Union that DHS has, in fact, shifted to processing large numbers of migrants via

   Title 8, is frequently releasing those migrants into the United States, and is diverting agents from field



   1
     Bill Melugin, Fox News, Border Patrol not using Title 42 to expel some Northern Triangle migrants ahead of its
   May 23 end: sources (Apr. 20, 2022), https://fxn.ws/3K4YMxs.
   2 Id.
   3
     Id.
                                                          2
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   duties to provide security while those migrants are processed under Title 8. St. John Decl. ¶¶ 5-7.

   Indeed, it appears that CDC’s forecast of operational problems was correct, and agents are being

   pulled from the field as a consequence of DHS’s actions. Id. This increases the number of aliens who

   arrive into the Plaintiff States undetected and thus not processed under either Title 8 or Title 42, or

   screened for any communicable disease.

           In an April 21, 2022, telephone conference, counsel for Defendants confirmed that DHS was

   shifting to Title 8 in advance of the announced May 23 termination date. St. John Decl. ¶ 9. This

   premature implementation of the Title 42 Termination Order unfortunately means that the irreparable

   harms that the States sought to avoid through their preliminary injunction motion may already be

   occurring now. Given that the enormous potential harms identified in the States’ preliminary injunction

   motion are likely already occurring, the States respectfully request that this Court enter a temporary

   restraining order (“TRO”) against any implementation of the Termination Order before its May 23

   effective date, and require Defendants to continue processing migrants pursuant to Title 42 rather

   than Title 8. Such an order should extend to all actions that either formally effectuate the Termination

   Order or have substantially similar effect under some other legal styling.

          Such a TRO is appropriate for all of the reasons that are set forth in the States’ preliminary

   injunction motion. See Doc. 13-1. “The standard for deciding whether to issue a preliminary injunction

   is the same standard used to issue a temporary restraining order.” Texas v. United States, 524 F. Supp.

   3d 598, 651 (S.D. Tex. 2021) (citing Clark v. Prichard, 812 F.2d 991, 993 (5th Cir. 1987) (granting TRO

   against illegal DHS actions). And each of the preliminary injunction requirements are satisfied here

   for the reasons that the States have previously explained. See Doc. 13-1. Nor would Defendants suffer

   any cognizable prejudice: Defendants intentionally chose to delay the effective date of their Order

   until May 23, and cannot suffer prejudice from a TRO preventing its implementation before then.

   DHS also will not suffer prejudice because it is statutorily precluded from deviating from the Title 42


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   Orders while they are in effect, and hence lacks any authority/discretion to partially implement the

   Termination Order in advance of May 23. Specifically, Congress has commanded that “[i]t shall be the

   duty of the customs officers and of Coast Guard officers to aid in the enforcement of quarantine rules and

   regulations,” such as the Title 42 Orders. 42 U.S.C. § 268 (emphasis added). DHS cannot lawfully

   discharge its “duty … to aid” enforcement of Title 42 by partially repealing it under its own putative

   authority. And to the extent that DHS believes that gradual implementation of the Termination Order

   is appropriate, such incremental steps could only begin on May 23 if the Order is still legally

   operative/non-enjoined at that time.

           In addition, Federal Defendants’ monopoly on information about what actions they are taking

   frustrates both the States’ ability to seek relief against the irreparable harms they will otherwise incur

   and this Court’s authority to grant relief if it concludes that that the Termination Order is unlawful.

   Once the Order is put into effect—even partially—few if any of the resulting harms can ever be

   remedied by this Court. That is particularly true as money damages are not available and it is doubtful

   that this Court could effectively rescind unlawful grants of asylum or parole into the U.S. Indeed, the

   irrevocable nature of the harms that the Title 42 Termination will cause is precisely why the bipartisan

   calls for abandonment or dela of the Order have been so resounding. See Doc. 13-1 at 1-2.

           To remedy this information deficit and address potential improper conduct by Defendants,

   this Court should order DHS to report on its activities on an expedited basis so that the States can

   consider whether additional relief is appropriate to seek. To that end, the States request that this Court

   enter an order requiring DHS to submit a declaration under oath by Sunday, April 24, at 5pm CST,

   explaining what actions (if any) they have taken to implement the Title 42 Termination, either formally

   or that de facto have similar effect. That declaration should, at a minimum:

           1) Identify and describe what actions, if any, it has taken to implement the Termination

               Order as a formal matter;


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         2) Identify and describe what actions, if any, it has taken within the last month that would

            have substantially similar effect, including without limitation, any shift to processing aliens

            under Title 8;

         3) Identify and describe in detail any changes in policy with respect to immigrants from

            Northern Triangle Countries in the past month and produce all guidance documents,

            orders, etc., relating to the same, including any provided to DHS employees of any rank;

         4) Provide statistics for the number of migrants processed under Title 42 and Title 8 by

            country for each week over the past six months so that any meaningful changes in policy

            can be detected;

         5) Either (a) attest under oath that the agency has not taken any actions in the prior month

            that could be reasonably characterized as a partially implementing the Termination Order,

            no matter how styled or characterized or (b) explain and describe in detail any and all actions

            that a reasonable observer might characterize as having the same effect as early

            implementation of the Termination Order regardless of whether DHS itself believes those actions

            have that effect, specifically including any shift to processing under Title 8;

         6) Explain in detail whether a TRO that precluded DHS from taking any actions that

            (a) formally implement the Title 42 Termination before May 23 or (b) have substantially

            similar effect no matter how styled, would require DHS to make any changes to its current

            policies or policies that are set to go into effect before May 23, 2022; and

         7) To the extent that DHS might assert that recent policy changes are independent from the

            Termination Order, (a) attest under oath that the impending termination of Title 42 played

            no role whatsoever in DHS’s decisions to implement the changes or (b) admit that the

            upcoming May 23 termination date played a role in the decisions and explain how in detail.




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           After DHS files that declaration, this Court may wish to set a status conference to discuss

   what further actions, if any, are appropriate.

           Perhaps all of the reporting and Mr. Judd’s statements are inaccurate and DHS has made no

   significant changes to its Title 42 implementation recently. That seems doubtful, but if so Defendants

   will not suffer any genuine prejudice from a TRO that precludes them from taking actions that they

   are not in fact taking. But if the enormous irreparable harms that the States sought to forestall by their

   motion for a preliminary injunction are already occurring now, the States should not be made to suffer.

           For these reasons, this Court should issue a TRO immediately and require DHS to explain its

   actions so that the States and this Court can take appropriate actions in response to what may (or may

   not) be some highly inappropriate actions by DHS that directly undermine this Court’s authority to

   remedy the harms that the challenged agency action would occasion.

                                               CONCLUSION
           For the foregoing reasons, this Court should issue a TRO and require DHS to explain any

   recent changes in policy regarding Title 42 as set forth above.



                                  LOCAL RULE 65.1 CERTIFICATE

           On April 20, 2022, counsel for the State of Arizona corresponded with counsel for Defendants

   and informed them (1) of the substance of this motion and (2) that Plaintiff States intended to file this

   motion at 09:00 a.m. on April 21, 2022. At the request of counsel for Defendants, Plaintiff States

   refrained from filing this motion until after the parties conferred telephonically on April 21, 2022.

   During that telephone conference, counsel for Defendants stated that they would respond to this

   motion. A true and accurate copy of the correspondence between counsel is attached as Exhibit C to

   the supporting St. John Declaration. Copies of this motion and all supporting documents will be

   served upon counsel for Defendants via ECF.


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   Dated: April 21, 2022                      Respectfully submitted,

                                             By:/s/ Joseph S. St. John

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